         Case 1:19-cv-00531-AKH Document 21 Filed 03/27/19 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                    X

BARNARD COLLEGE,

                                  Petitioner,

                   -against-

                                                          Case No. 1:19-cv-00531-AKH
TRANSPORT WORKERS UNION OF
AMERICA, AFL-CIO, LOCAL 264,

                                 Respondent.

                                                    X


           MOTION FOR LEAVE TO FILE SUR-REPLY TO RESPONDENT’S
             MARCH 15, 2019 REPLY TO PETITIONER’S ANSWER TO
                RESPONDENT’S CROSS-PETITION TO CONFIRM

               Petitioner Barnard College (“Petitioner” or “Barnard”), by and through its

undersigned attorneys, Jackson Lewis P.C., respectfully requests permission to file a sur-reply to

Transport Workers Union of America, AFL-CIO, Local 264’s (“Union” or “Respondent”) March

15, 2019 Reply to Petitioner’s Answer to Respondent’s Cross-Petition to Confirm the Arbitration

Award (Docket No. 20). A copy of Petitioner’s proposed sur-reply is attached hereto as Exhibit A.

               In its Reply, the Union claimed that the Court should disregard Barnard’s Answer

to the Union’s Cross-Petition, and Barnard’s supporting Memorandum, alleging they were

untimely filed and served. The Union’s argument misconstrues the applicable procedural rules. As

demonstrated in the attached proposed sur-reply, Barnard’s papers were timely filed, as an answer

to a cross-petition (and supporting memorandum), pursuant to FED. R. CIV. P. 12(a)(1)(B).

Specifically, pursuant to FED. R. CIV. P. 12(a)(1)(B), an answer to a cross-petition is timely filed

and served within 21 days of receipt of Respondent’s Cross-Petition papers. To disregard

Barnard’s response would not only be an endorsement of Respondent’s incorrect reading of the
          Case 1:19-cv-00531-AKH Document 21 Filed 03/27/19 Page 2 of 2




applicable rules, but would also result in significant prejudice to Barnard, and to the important

public policy position it is advocating for in this case, by deeming admitted the numerous

misstatements and mischaracterizations in Respondent’s Cross-Petition. See FED. R. CIV. P. 8(b)

(requiring a party to admit, deny or otherwise respond to allegations in a pleading, or else admitting

the allegations by default).

                                          CONCLUSION

               The Court should grant Barnard’s motion for leave to file a brief six (6) page sur-

reply to the Union’s March 15, 2019 Reply to Petitioner’s Answer to Respondent’s Cross-Petition

to Confirm the Arbitration Award or, in the alternative, the Court should grant Petitioner’s

Amended Petition to Vacate the Arbitration Award and deny Respondent’s Cross-Petition to

confirm the Arbitration Award.

                                                        Respectfully submitted,


                                                        JACKSON LEWIS P.C.

                                                  By:
                                                        Rachel E. Muñoz
                                                        Christopher M. Repole
                                                        666 Third Avenue, 29th Floor
                                                        New York, New York 10017
                                                        Tel: (212) 545-4000
                                                        Fax: (212) 972-3213
                                                        Rachel.Munoz@jacksonlewis.com
                                                        Christopher.Repole@jacksonlewis.com

                                                        Attorneys for Petitioner Barnard College


Dated:     New York, New York
           March 27, 2019




                                                  2
